                 Case 2:17-cv-00440-JCM-GWF Document 20 Filed 12/19/17 Page 1 of 1
2AO450 (Rev. 5/85) Judgment in a Civil Case


                                    UNITED STATES DISTRICT COURT
                                                                                                    Nevada
                                                               DISTRICT OF

        Darwin Mazariegos-Diaz,
                                                                                JUDGMENT IN A CIVIL CASE
                                                  Plaintiff,
                             V.
        United States of America, et al.,                                       Case Number: 2:17-cv-00440-JCM-GWF

                                               Defendants.

  Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury has d
d rendered its verdict.

  Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or heard and a
d decision has been rendered.

  Notice of Acceptance with Offer of Judgment. A notice of acceptance with offer of judgment has been filed in this
d case.

   IT IS ORDERED AND ADJUDGED
   that judgment has been entered. See [19] Order for details.




                           12/19/2017                                  /s/ Debra K. Kempi

 Date                                                                   Clerk

                                                                       /s/ M. Reyes
                                                                        (By) Deputy Clerk
